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                                                                        FILED
                 UNITED STATES COURT OF APPEALS                             OCT 2 2023

                                                                    MOLLY C. DWYER, CLERK
                         FOR THE NINTH CIRCUIT                        U.S. COURT OF APPEALS




UNITED STATES OF AMERICA,                    No.    23-35440

           Plaintiff-Appellee,               D.C. No. 1:22-cv-00329-BLW
                                             District of Idaho,
v.                                           Boise

STATE OF IDAHO,
                                             ORDER
           Defendant-Appellant.



UNITED STATES OF AMERICA,                    No.    23-35450

           Plaintiff-Appellee,               D.C. No. 1:22-cv-00329-BLW
                                             District of Idaho,
v.                                           Boise

STATE OF IDAHO,

           Defendant,

 v.

MIKE MOYLE, Speaker of the Idaho
House of Representatives; CHUCK
WINDER, President Pro Tempore of the
Idaho Senate; THE SIXTY-SEVENTH
IDAHO LEGISLATURE, Proposed
Intevenor-Defendants,

           Movants-Appellants.
        Case: 23-35440, 09/30/2023, ID: 12801967, DktEntry: 54, Page 2 of 2




Before: S.R. THOMAS, Circuit Judge and En Banc Coordinator

      The United States has filed an emergency motion for reconsideration en

banc of the motions panel order granting a stay pending appeal. Therefore,

pursuant to General Order 6.1.b.2, the time periods for submitting briefs pertaining

to the motion will be compressed. The State of Idaho and Mike Moyle are directed

to file a response on or before 10:00 a.m., Pacific time, Wednesday, October 4,

2023. The response shall not exceed 4.200 words.




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